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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE DISTRICT OF ARIZONA
10
11   United States of America,                              No. CR-05-01319-PHX-RCC
12                         Plaintiff,                   UNITED STATES’ RESPONSE TO
13            v.                                     DEFENDANT’S MOTION TO REDUCE
                                                      SENTENCE PURSUANT TO 18 U.S.C.
14   Andrew Acosta,                                   § 3582(C)(1)(A)(i) (COMPASSIONATE
                                                                    RELEASE)
15                         Defendant.
16          The United States responds in opposition to Defendant Andrew Acosta’s “Motion
17   to Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (Compassionate Release)”
18   (hereafter, “Motion”). Defendant’s Motion requests this Court to grant him compassionate
19   release based on extraordinary and compelling circumstances (deteriorating health and the
20   heightened risk of serious illness from the COVID-19 virus), and the relevant sentencing
21   factors under 18 U.S.C. § 3553(a). (Motion at 9-20.)
22          The United States understands, and in many ways shares, Defendant’s concerns
23   about COVID-19. However, as detailed in the attached Memorandum of Law, Defendant’s
24   Motion should be denied. Defendant states that he has several chronic medical problems,
25   including obesity, Hepatitis C, edema, a degenerative knee joint condition, and chronic
26   pain in both knees with a recent history of surgery on both knees. (Moton at 10-11.) In light
27   of Defendant’s obesity, the government does not contest the existence of extraordinary and
28   compelling circumstances allowing compassionate release during the current pandemic.
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 1   Despite his statutory eligibility, however, this Court should deny Defendant’s motion
 2   because he is unable to show that he is no longer a danger to the community, and the
 3   § 3553(a) factors weigh against a reduction in Defendant’s sentence.
 4                                MEMORANDUM OF LAW
 5   I.    BACKGROUND
 6         In August 2002, while Defendant was on supervised release from a previous
 7   extortion conviction,1 Defendant robbed a bank in Phoenix, stealing $5,900. (CR 05-
 8   01319-PHX-RCC, PSR ¶¶ 5, 44.) Two weeks later, Defendant and a co-defendant robbed
 9   the same bank, stealing $12,000. (CR 05-01319-PHX-RCC, PSR ¶ 7.) These bank
10   robberies were the subject of this case, CR 05-01319-PHX-RCC. In December 2002,
11   Defendant and two accomplices robbed another bank, stealing just over $17,000. (CR 03-
12   00075-PHX-GMS, PSR ¶¶ 3-4.) This bank robbery was the subject of Arizona District
13   Court case number CR 03-00075-PHX-GMS.
14         In this case, Defendant was convicted of one count of bank robbery (Count 1), and
15   one count of bank robbery, aid and abet (Count 2). This Court sentenced Defendant as a
16   career offender to 96 months’ imprisonment on Count 1, and ordered that it run consecutive
17   to the sentence imposed in case number CR 03-00075-PHX-GMS, and Count 2. This Court
18   further sentenced Defendant to 210 months’ imprisonment on Count 2, and ordered that it
19   run concurrent to the sentence in the case CR 03-00075-PHX-GMS. (CR 127, 129.) 2 In
20   CR 03-00075-PHX-GMS, the court determined that based on Defendant’s prior
21   convictions, he was a career offender, and sentenced Defendant to 210 months’
22   imprisonment for the one count of bank robbery. (CR 03-00075-PHX-GMS, CR 176.)
23
24
25
           1
26           In Arizona District Court case number CR 98-00894-PHX-RGS, Defendant was
     convicted of extortion, an incidental offense of bank robbery, after he and an accomplice
27   robbed a credit union and stole over $5,000. (CR 05-01319-PHX-RCC, PSR ¶ 44.)
           2
28          Unless otherwise noted, “CR” refers to the Clerk’s Record in this case, CR 05-
     01319-PHX-RCC.


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 1          Defendant began serving his sentence on April 13, 2005. He is currently housed at
 2   United States Penitentiary (“USP”) Lompoc in Lompoc, California, serving the 306-month
 3   sentence that was imposed as a result of his bank robberies. Defendant has served
 4   approximately two-thirds of sentence. According to the Bureau of Prison’s (“BOP”)
 5   website, Defendant’s projected release date is March 30, 2028.
 6          Defendant filed a motion for compassionate release with the Warden at USP
 7   Lompoc on June 23, 2020. (Motion, Exh. 1.) The BOP denied Defendant’s motion on
 8   August 11, 2020, finding that he did not meet the criteria to be considered for
 9   compassionate release based on medical circumstance. (Motion, Exh. 2.)
10   II.    BOP’S RESPONSE TO COVID-19, GENERALLY
11          BOP has taken aggressive steps to protect inmates’ health and to stop the spread of
12   COVID-19 in its facilities. “[M]aintaining safety and security of BOP institutions is
13   [BOP’s] highest priority.” Updates to BOP COVID-19 Action Plan: Inmate Movement
14   (March 19, 2020), available at https://www.bop.gov/resources/news/20200319_covid19_
15   update.jsp. Among other things, BOP has put health screening procedures in place, visits
16   have been restricted, and inmate movement is being reduced to help limit possible exposure
17   in BOP facilities. Individual facilities have adopted “modified operations,” including
18   staggered meal and recreation times, to promote social distancing. See BOP COVID-19
19   Action Plan: Agency-Wide Modified Operations (March 13, 2020) (“BOP Action Plan”),
20   available at https://www.bop.gov/resources/news/20200313_covid19.jsp.
21          In addition to the procedures in place to limit transmission of the virus within its
22   facilities, with the FDA’s recent emergency authorization of two COVID-19 vaccines,
23   BOP has begun working with the Centers for Disease Control and Prevention (“CDC”) to
24   distribute and administer vaccines to staff and inmates. When an institution receives an
25   allocation of the vaccine, it is first offered to full-time staff at that location, given that
26   staff—who come and go between the facility and the community—present a higher
27   potential vector for COVID-19 transmission. Vaccinating staff protects fellow staff,
28   inmates at the facility, and the community. Remaining doses of the vaccine at each location


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 1   are then provided to inmates based on priority of need in accordance with CDC Guidelines.
 2   https://www.bop.gov/coronavirus/index.jsp (last visited March 22, 2021). As of March 22,
 3   2021, BOP has distributed throughout its facilities 85,488 vaccine doses, and has
 4   administered 86,902 vaccine doses.3 https://www.bop.gov/coronavirus/index.jsp (last
 5   visited March 22, 2021). At USP Lompoc, where Defendant is currently housed, 167 staff4
 6   have been fully inoculated with both doses of the vaccine, and 242 inmates have been fully
 7   inoculated. https://www.bop.gov/coronavirus/index.jsp (last visited March 22, 2021).
 8          Finally, BOP is taking dramatic steps to transfer vulnerable inmates to home
 9   confinement in appropriate circumstances. The Coronavirus Aid, Relief, and Economic
10   Security Act (“CARES Act”) substantially increased BOP’s statutory authority to transfer
11   inmates to home confinement. See CARES Act, Pub. L. No. 116-136, § 12003(b)(2), 134
12   Stat. 281, 516 (March 27, 2020) (allowing BOP to “lengthen the maximum amount of time
13   the Director is authorized to place a prisoner in home confinement” under 18 U.S.C.
14   § 3624(c)(2)). The Attorney General directed BOP to exercise its home-confinement
15   authority broadly to protect “the people in [their] custody,” taking into consideration
16   prisoners’ age, vulnerability to COVID-19, and other factors. See Attorney General
17   Memorandum for Director of Bureau of Prisons Re: Prioritization of Home Confinement
18   as Appropriate in Response to COVID-19 Pandemic (March 26, 2020), available at
19   https://www.justice.gov/file/1262731/download.
20          The Attorney General also expanded the cohort of inmates who can be considered
21   for home release, responding to changing conditions at certain institutions. See Attorney
22   General Memorandum for Director of Bureau of Prisons Re: Increasing the Use of Home
23
24          3
              According to BOP’s website, the Total Doses Administered will often be greater
25   than the Total Doses Distributed because vials of the Pfizer-BioNTech COVID-19 vaccine
     officially contain at least five doses but typically contain six doses. Use of this sixth dose,
26   if present, is authorized by the FDA. https://www.bop.gov/coronavirus/index.jsp (last
     visited March 22, 2021).
27          4
               BOP staff who have received their vaccination in the community rather than the
28   BOP facility are not reflected in this number. https://www.bop.gov/coronavirus/index.jsp
     (last visited March 22, 2021).


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 1   Confinement at Institutions Most Affected by COVID-19 (April 3, 2020), available at
 2   https://www.justice.gov/file/1266661/download.
 3          Consistent with these directives, BOP is devoting all available resources to
 4   assessing the inmate population to determine which inmates would be appropriate for
 5   transfer under this priority program and then processing those inmates for transfer as
 6   quickly as possible. Between March 26, 2020, and the date of this filing, BOP has placed
 7   an additional 23,062 inmates on home confinement. See BOP, COVID-19 Coronavirus
 8   (updated daily), available at https://www.bop.gov/coronavirus/index.jsp (last visited
 9   March 22, 2021.)
10          The facility where Defendant is serving his sentence, USP Lompoc, currently
11   houses approximately 1,148 total inmates (128 inmates at the CAMP N, 204 inmates at the
12   Camp, and 816 inmates at USP). See BOP’s website pertaining to general information
13   about USP Lompoc available at https://www.bop.gov/locations/institutions/lom (last
14   visited March 22, 2021). Thanks to BOP’s significant prevention efforts, despite the public
15   outbreak of COVID-19 across the United States over the course of the past several months,
16   currently zero inmates and only one staff have tested positive for COVID-19 at USP
17   Lompoc.     See    BOP,   COVID-19       Coronavirus    (updated    daily),   available   at
18   https://www.bop.gov/coronavirus (last visited March 22, 2021).
19   III.   ARGUMENT
20          A.     Legal Framework for Compassionate Release
21          District courts generally “may not modify a term of imprisonment once it has been
22   imposed.” 18 U.S.C. § 3582(c); see Dillon v. United States, 560 U.S. 817, 824-25 (2010).
23   Compassionate release is one of the few exceptions to this rule, allowing a court to “reduce
24   the term of imprisonment (and . . . impose a term of probation or supervised release with
25   or without conditions that does not exceed the unserved portion of the original term of
26   imprisonment).” 18 U.S.C. § 3582(c)(1)(A). The Director of the Bureau of Prisons may
27   make a motion under this section. Following the implementation of the First Step Act in
28


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 1   2019, an inmate may also file a motion, subject to the exhaustion requirement described
 2   below.
 3            Compassionate release is both a drastic and permanent remedy; therefore, it is
 4   subject to several strict requirements. Defendant bears the burden of proving he meets all
 5   elements of eligibility for a sentence reduction. 18 U.S.C. § 3582(c)(1)(A); United States
 6   v. Van Sickle, No. CR18-0250JLR, 2020 WL 2219496, at *3 (W.D. Wash. May 7, 2020)
 7   (citing cases); United States v. Greenhut, No. 18-CR-48-CAS, 2020 WL 509385, at *1
 8   (C.D. Cal. Jan. 31, 2020) (defendant bears the burden of establishing entitlement to
 9   sentencing reduction); see also United States v. Hamilton, 715 F.3d 328, 337 (11th Cir.
10   2013) (“defendant, as the § 3582(c)(2) movant, bears the burden of establishing” eligibility
11   for sentencing reduction).
12                  1.     Administrative exhaustion is required
13            First, a district court can consider a defendant’s request for compassionate release
14   only after the defendant makes an administrative request and waits 30 days for a response.
15   Specifically, the statute provides a defendant can file a motion only “after the defendant
16   has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to
17   bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a
18   request by the warden of the defendant’s facility, whichever is earlier . . . . ” 18 U.S.C.
19   § 3582(c)(1)(A); see also, e.g., United States v. Weidenhamer, No. CR 16-01072-PHX-
20   ROS, 2020 WL 1929200, at *2 (D. Ariz. Apr. 21, 2020) (“There is no indication in the
21   statutory text . . . [that] Congress meant to confer on the court the authority to waive
22   exhaustion.”) (“Weidenhamer II”); United States v. Tomlinson, No. CR-18-08374-002-
23   PCT-DWL, 2020 WL 1935522, at *1 (D. Ariz. Apr. 22, 2020) (quoting Weidenhamer II).
24                  2.     Extraordinary and compelling reasons are required
25            Second, even if the exhaustion requirement is met, a district court may only reduce
26   a sentence pursuant to 18 U.S.C. § 3582(c)(1)(A) “after considering the factors set forth in
27   [18 U.S.C. § 3553(a)],” if the court finds, as relevant here, that (i) “extraordinary and
28   compelling reasons warrant such a reduction” and (ii) “such a reduction is consistent with


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 1   applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.
 2   § 3582(c)(1)(A).5 The Sentencing Commission has issued a policy statement addressing
 3   reduction of sentences under § 3582(c)(1)(A), found at United States Sentencing
 4   Guidelines (U.S.S.G.) § 1B1.13, which is binding on the court’s determination. See Dillon,
 5   560 U.S. at 827 (determining that, because § 3582(c) permits a sentencing reduction only
 6   where it is “consistent with applicable policy statements issued by the Sentencing
 7   Commission,” such policy statements are binding on a court determining eligibility);
 8   United States v. Weidenhamer, No. CR 16-01072-PHX-ROS, 2019 WL 6050264, at *4
 9   (citing cases) (“Weidenhamer I”). Sentencing Guidelines § 1B1.13 imposes an additional
10   requirement for compassionate release in that it prohibits this Court from reducing a
11   defendant’s sentence unless the court also determines that “the defendant is not a danger
12   to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g).”
13          Sentencing Guidelines § 1B1.13 explicitly defines “extraordinary and compelling
14   reasons” that may make a defendant eligible for compassionate release. See 28 U.S.C.
15   § 994(t). They include, as relevant here, a serious physical or medical condition, “that
16   substantially diminishes the ability of the defendant to provide self-care within the
17   environment of a correctional facility and from which he or she is not expected to recover.”
18   U.S.S.G. § 1B1.13, n.1(A) (other grounds omitted). The CDC has identified obesity as a
19   medical condition that places people of any age at an increased risk of severe illness from
20   COVID-19. In light of Defendant’s medical condition (obesity)—a condition from which
21   he is unlikely to recover in the coming months—and the continuing COVID-19 pandemic
22
23
24
            5
             Alternatively to the “extraordinary and compelling reasons” requirement,
25   § 3582(c)(1)(A)(ii) also allows for compassionate release where “the defendant is at least
     70 years of age, has served at least 30 years in prison, pursuant to a sentence imposed under
26   section 3559(c), for the offense or offenses for which the defendant is currently imprisoned,
27   and a determination has been made by the Director of the Bureau of Prisons that the
     defendant is not a danger to the safety of any other person or the community . . . .” Based
28   on Defendant’s age (50 years old) and how long he has served in prison (over 15 years),
     this subsection is inapplicable to Defendant’s Motion.


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 1   in this country, it is the position of the United States that Defendant has demonstrated an
 2   “extraordinary and compelling reason” making him eligible for compassionate release.
 3          Congress has tasked the Sentencing Commission, not the courts, with determining
 4   what constitutes an “extraordinary and compelling reason” that can justify compassionate
 5   release. That directive is expressed in several statutes. Congress directed the Sentencing
 6   Commission to adopt policy statements regarding “the appropriate use of . . . the sentence
 7   modification provisions set forth in section [] . . . 3582(c) of title 18.” 28 U.S.C.
 8   § 994(a)(2)(C). Providing further guidance, section 994(t) specifies:
 9                 The Commission, in promulgating general policy statements
10          regarding the sentencing modification provisions in section 3582(c)(1)(A) of
            title 18, shall describe what should be considered extraordinary and
11          compelling reasons for sentence reduction, including the criteria to be
12          applied and a list of specific examples. Rehabilitation of the defendant alone
            shall not be considered an extraordinary and compelling reason.
13
14   28 U.S.C. § 994(t). And finally, as stated, § 3582(c)(1)(A) conditions sentencing reductions
15   on a court’s fidelity to the applicable policy statement, which appears at U.S.S.G. § 1B1.13.
16   This policy statement is binding under the express terms of § 3582(c)(1)(A). Thus, any
17   suggestion that Congress aimed to afford courts discretion to determine in individual cases
18   whether there is a basis for a sentence reduction, ignores the text of the actual statutes, as
19   well as the Supreme Court’s decision in Dillon.6
20          Furthermore, the Supreme Court in Dillon makes clear that the statutory
21   requirement in § 3582 that a court heed the restrictions stated by the Sentencing
22   Commission is binding. 560 U.S. at 827. Dillon concerned a motion for a reduction in
23
24
            6
25            The Second, Fourth, Sixth, and Seventh Circuits have held that U.S.S.G. § 1B1.13
     is not binding as to compassionate release motions filed by defendants. See United States
26   v. Brooker, 976 F.3d 228 (2d Cir. 2020); United States v. McCoy, 981 F.3d 271 (4th Cir.
     2020); United States v. Jones, 980 F.3d 1098 (6th Cir. 2020); United States v. Gunn, 980
27   F.3d 1178 (7th Cir. 2020). The government disagrees with the holdings in those opinions,
     which are not binding on this Court. The applicability of § 1B1.13 to defendant-filed
28   compassionate release motions remains an open question in this circuit. See United States
     v. Markillie, 834 F. App’x 395, 396 (9th Cir. 2021).


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 1   sentence under 18 U.S.C. § 3582(c)(2), which allows a sentence reduction in limited
 2   circumstances upon the Commission’s adoption of a retroactive guideline amendment
 3   lowering a guideline range. That subsection allows such an action “if such a reduction is
 4   consistent with applicable policy statements issued by the Sentencing Commission”—
 5   language identical to that which appears in § 3582(c)(1)(A) with respect to a court’s
 6   consideration of a motion for compassionate release (“if it finds . . . that such a reduction
 7   is consistent with applicable policy statements issued by the Sentencing Commission”).
 8          Thus, any suggestion that Congress aimed to afford courts discretion to determine
 9   in individual cases whether there is a basis for a sentence reduction, ignores the text of the
10   actual statutes, as well as the Supreme Court’s decision in Dillon.
11                 3.     Relief is rare and within this Court’s discretion to deny
12          Third, even for defendants who are statutorily eligible, compassionate release is a
13   rare and extraordinary remedy, within a district court’s discretion to deny. United States v.
14   Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020) (holding district court did not abuse its
15   discretion by denying compassionate release despite defendant’s eligibility for that relief);
16   United States v. Mangarella, No. 06-CR-151, 2020 WL 1291835, at *2–3 (W.D.N.C. Mar.
17   16, 2020) (citation omitted); United States v. Willis, 382 F. Supp. 3d 1185, 1188 (D.N.M.
18   2019) (“most courts treat compassionate release ‘due to medical conditions [a]s ... a rare
19   event.’”). This reluctance to expansively apply compassionate release is grounded in a
20   concern that any less-narrow application would yield significant sentencing disparities. See
21   United States v. Ebbers, 432 F. Supp. 3d. 421, 430 (S.D.N.Y. Jan. 8, 2020).
22          B.     Defendant Has Exhausted His Administrative Remedies
23          On June 23, 2020, Defendant filed a motion for compassionate release with the
24   Warden at USP Lompoc. (Motion, Exh. 1.) The BOP denied Defendant’s motion on August
25   11, 2020, finding that he did not meet the criteria to be considered for compassionate
26   release based on medical circumstance. (Motion, Exh. 2.) Accordingly, Defendant has
27   exhausted his administrative remedies.
28


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 1          C.      Defendant’s Request for Compassionate Relief Should Be Denied on
                    Substantive Grounds.
 2
 3          Defendant has met the administrative exhaustion requirement of § 3582(c)(1)(A)

 4   and therefore his motion is not procedurally barred. This Court should deny Defendant’s

 5   Motion on the merits, however, because he has not established that he is no longer a danger

 6   to the public, and the § 3553 factors weigh against his release.

 7                  1.      The government does not contest that Defendant’s medical
 8                          conditions constitute extraordinary and compelling reasons.

 9          Most of the COVID-related compassionate release motions to date have been
10   brought by defendants concerned about possible exposure to COVID-19 in prison. Courts
11   have found that such generalized, speculative concerns about possible exposure to COVID-
12   19 are not extraordinary and compelling grounds justifying compassionate release. United
13   States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020); United States v. Eberhart, No. 13-CR-
14   00313, 2020 WL 1450745, at *2 (N.D. Cal. Mar. 25, 2020) (“General concerns about
15   possible exposure to COVID-19 do not meet the criteria for extraordinary and compelling
16   reasons for a reduction in sentence . . . .”).
17          However, in light of the increased risk of serious illness from COVID-19,
18   Defendant’s obesity presents an extraordinary and compelling reason allowing for
19   compassionate release during the current pandemic.
20                  2.      Although eligible for compassionate release based on his health,
                            Defendant’s request should be denied because Defendant remains
21                          a danger to the community, and the sentencing factors under
22                          18 U.S.C. § 3553(a) weigh against his release.

23          Despite Defendant’s medical conditions and the risks of COVID-19, this Court
24   should deny Defendant’s request for compassionate release because Defendant remains a
25   danger to the community. In addition, the sentencing factors under 18 U.S.C. § 3553 weigh
26   against his release.
27          As discussed above, this Court may not reduce a defendant’s sentence under
28   § 3582(c)(1)(A) unless it finds that “the defendant is not a danger to the safety of any other


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 1   person or to the community, as provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13; see
 2   United States v. Brewer, No. CR-12-01927-PHX-DJH, 2020 WL 7047660, at *3-4 (D.
 3   Ariz. Dec. 1, 2020) (denying compassionate release despite Defendant’s serious and
 4   multiple health conditions satisfying the extraordinary and compelling reasons for release
 5   because Defendant remained a danger to the public and the § 3553 sentencing factors
 6   militated against his release); United States v. Gotti, No. 02-CR-743, 2020 WL 497987, at
 7   *6 (S.D.N.Y. Jan. 15, 2020) (release was inappropriate regardless of extraordinary and
 8   compelling circumstances because defendant posed a continuing danger to the public);
 9   accord United States v. Applewhite, No. 08-CR-60037, 2020 WL 137452, at *2 (D. Or.
10   Jan. 13, 2020) (denying compassionate release for seriously ill 80-year-old inmate based
11   on danger); United States v. Urso, No. 03-CR-1382, 2019 WL 5423431, at *3 (E.D.N.Y.
12   Oct. 23, 2019).
13          Defendant acknowledges that his offense conduct 18 years ago was serious, but
14   contends that he is entitled to compassionate release because no weapons were used in the
15   robberies, no one was injured, he has served the majority of his aggregate prison term, and
16   he has shown an extraordinary level of rehabilitation. (Motion at 17-18.) Defendant further
17   states that upon his release, he will reside with his future employer, who owns and operates
18   his own business, and will have financial support from a long-time friend. (Motion at 20,
19   Exh. 11.)
20          The record here precludes a finding that Defendant is no longer a danger to the
21   safety of any other person or to the community as required in Sentencing Guidelines Policy
22   Statement § 1B1.13(2). First, the nature and circumstances of Defendant’s offense were
23   serious. While on supervised release for a previous robbery of a credit union, Defendant
24   committed three more bank robberies. Defendant asserts that no one was injured, but one
25   of the bank tellers who was a victim in two of the robberies provided a victim impact
26   statement in which she indicated that she was greatly impacted by the robberies and had to
27   quit her job at the bank because she was afraid to help customers for fear of being robbed
28   again. (CR 05-01319-PHX-RCC, PSR ¶ 10.) The victim bank teller further indicated she


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 1   feared Defendant may seek retribution against her or her family as she testified against him
 2   at trial. (CR 05-01319-PHX-RCC, PSR ¶ 10.) Second, the history and characteristics of
 3   Defendant reveals a criminal history that began when he was a juvenile. This history
 4   includes convictions for carrying a concealed weapon, theft, conspiracy to sell narcotic
 5   drugs, extortion (an incidental offense of bank robbery), and other criminal conduct
 6   involving theft and burglary. (CR 05-01319-PHX-RCC, PSR ¶¶ 41-44, 49-51.) Although
 7   Defendant has alleged positive things he has completed while in prison, he has also had
 8   disciplinary infractions years into his sentence, the most recent being an assault in 2016.
 9   (Motion, Exh. 9.) Furthermore, rehabilitation alone is not an extraordinary and compelling
10   reason to justify compassionate release. See 28 U.S.C. § 994(t).
11          Because of the nature and characteristics of Defendant’s offense, his criminal
12   history, and his disciplinary infractions, Defendant has failed to meet his burden of showing
13   that he is no longer a danger to the community such that compassionate release is
14   appropriate.
15                  3.    The § 3553 factors weigh against release.
16          Similarly, the § 3553(a) factors disfavor a sentence reduction. Defendant’s offense
17   was a serious, potentially violent crime, requiring significant deterrence both generally and
18   specifically. In addition to the violent nature of the offenses, Defendant also had a Criminal
19   History Category V, which included carrying a concealed weapon, theft, conspiracy to sell
20   narcotic drugs, and extortion (an incidental offense to bank robbery). (CR 05-01319-PHX-
21   RCC, PSR ¶¶ 41-44.)
22          Defendant states that in both robbery cases, he was sentenced as a career offender
23   based, in part, on his 1999 extortion conviction. Defendant contends that conviction is
24   arguably not a crime of violence. (Motion at 18.) He further argues that the other prior
25   conviction supporting his career offender designation was a violation of Arizona Revised
26   Statutes (“A.R.S.”) § 13-3908(A)(2), which is not categorically a drug trafficking offense
27   because it is broader than the federal analogue and is indivisible. (Motion at 18.) Defendant
28   states that the Ninth Circuit Court of Appeals recently granted him a certificate of


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 1   appealability on that issue, and it is currently being litigated in that court, C.A. No. 19-
 2   15254. (Motion at 19.)
 3          Whether Defendant was properly sentenced as a career offender is not an
 4   appropriate issue to be raising in a motion for compassionate release. “Compassionate
 5   release is a mechanism for inmates to seek a sentence reduction for compelling reasons,
 6   not for remedying potential errors in a conviction.” United States v. Musgraves, No. 20-
 7   2702, 2021 WL 945092, at *2 (7th Cir. March 12, 2021); see United States v. Moreira, No.
 8   06-20021-01-KHV, 2020 WL 693976, at * 6 (D. Kan. Sept. 3, 2020) (“Nothing in the First
 9   Step Act suggests that Congress authorized courts to grant relief under the compassionate
10   release provision of § 3582(c)(1)(A) based on a request that the court reconsider whether
11   the sentence is too long.”). “[T]he correct vehicle to challenge a conviction or sentence is
12   28 U.S.C. § 2255 or, in rare circumstances, 28 U.S.C. § 2241.” Musgraves, 2021 WL
13   945092, at *2 (“[W]hether [the defendant] committed a qualifying ‘controlled substance
14   offense’ goes to the validity of the sentence, which is a hallmark use of § 2255(a).”); see
15   United States v. Wood, No. 1:17-CR-118-LG-JCG-2, 2020 WL 4318758, at *1 (S.D. Miss.
16   July 27, 2020) (denying defendant’s motion for reconsideration for compassionate release
17   in part because defendant’s argument that the court improperly applied a sentencing
18   enhancement was not cognizable on a § 3582 motion; “‘§ 3582(c)(1)(A) provides a
19   mechanism to seek a reduction in the term of a sentence, not to challenge its validity’”
20   (quoting United States v. Handerhan, 789 F. App’x 924, 926 (3d Cir. 2019)).
21          Even if Defendant could raise this type of claim in relation to the § 3553 sentencing
22   factors, he still would not be entitled to relief. Sentencing Guidelines § 1B1.13 sets forth
23   circumstances under which “extraordinary and compelling” reasons exist to reduce a
24   sentence, which include a defendant’s terminal or debilitated medical condition, age (at
25   least 65) combined with other criteria, or death or incapacitation of the family member
26   caregiver. Application Note 1(D) also allows for one other category of extraordinary and
27   compelling reasons, defined as:
28


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 1          (D) Other Reasons—As determined by the Director of the Bureau of Prisons,
            there exists in the defendant’s case an extraordinary and compelling reason
 2          other than, or in combination with, the reasons described in subdivisions (A)
            through (C).
 3
 4   U.S.S.G. § 1B1.13, App. n.1(D). Addressing this subsection, the BOP has issued a
 5   regulation defining its own consideration of requests for compassionate release. That
 6   regulation, which was amended effective January 17, 2019 following passage of the First
 7   Step      Act,       appears       at     Program        Statement        5050.50.         See
 8   https://www.bop.gov/policy/progstat/5050_050_EN.pdf (last visited March 22, 2021).
 9   According to the Program Statement, the BOP looks to the same criteria as the Sentencing
10   Commission: medical condition, age, and family circumstances. Neither the policy
11   statement nor the BOP regulation provides any basis for compassionate release due to a
12   reevaluation of the severity of the original sentence or a subsequent change in the law.
13          Even if this Court could consider a change in the law affecting Defendant’s
14   sentence, Defendant is unable to establish that he is not a career offender, as some of these
15   issue are still pending in other courts. Contrary to Defendant’s assertion, the Ninth Circuit
16   did not grant a certificate of appealability as to the merits of Defendant’s § 2255 motion
17   which challenges his career offender designation based on his prior conviction under
18   A.R.S. § 13-3408. Rather, Defendant’s § 2255 motion was denied as untimely, and the
19   Ninth Circuit granted a certificate of appealability only to the issue of whether his § 2255
20   motion was timely filed. (Exh. A, Arizona District Court No. CV-17-00765-PHX-RCC,
21   CR 24; Exh. B, Ninth Circuit Court of Appeals No. 19-16254, Doc. 4.) Defendant also
22   states that in denying his § 2255 motion, the court made the determination that a violation
23   of A.R.S. § 13-3408(A)(2) was not categorically a “drug trafficking offense” because it
24   was broader than its federal analogue and was indivisible. (CV 17-00765-PHX-RCC,
25   CR 24.) Not only was this statement dicta, in that Defendant’s motion was denied on
26   timeliness grounds, it is not settled law. Recently, the Arizona Supreme Court heard oral
27   argument on a certified question from the Ninth Circuit Court of Appeals concerning
28   whether Arizona’s drug possession statute, A.R.S. § 13-3408 was divisible as to drug type.


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 1   See Romero-Millan v. Wilkinson, Arizona Supreme Court No. CV-20-0128-CQ.
 2   Accordingly, whether Defendant was improperly sentenced as a career offender is not a
 3   factor this court should consider when analyzing the § 3553 factors in this case, and the
 4   other § 3553 factors this Court should consider weigh against Defendant’s release.
 5   IV.   CONCLUSION
 6         For all of the foregoing reasons, Defendant’s Motion should be denied.
 7                Respectfully submitted this 22nd day of March, 2021.
 8
                                                        PAUL ANTHONY MARTIN
 9                                                      Acting United States Attorney
                                                        District of Arizona
10
11                                                      s/ Karla Hotis Delord
                                                        KARLA HOTIS DELORD
12                                                      Assistant U.S. Attorney
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                                  CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on March 22, 2021, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF system for filing, thereby transmitting
 4   of a Notice of Electronic Filing to the all CM/ECF registrants.
 5          I further certify that the following participant in this case is not a registered CM/ECF
 6   user. I have mailed the foregoing document by regular First-Class Mail, postage prepaid,
 7   for delivery, to the following non-CM/ECF participant:
 8
 9          Andrew Acosta, #44014-008
            LOMPOC-CA-LOMPOC-USP
10          U.S. Penitentiary
            3901 Klein Blvd.
11
            Lompoc, CA 93436
12
13   s/ Tammie R. Holm
     Paralegal Specialist
14   U. S. Attorney’s Office
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